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GERALD BILL CASTILLE=,et al.


                                    NOTICE TO THE COURT

        The United States, by and through Sean P. Costello, the United States Attorney for the

Southern District of Alabama, respectfully files this notice pursuant to the Court’s Local Rules and

briefly describesthe differences between the Indictment and SupersedingIndictment.

        1. Count One remains the same other than the date of the conspiracy being extended

           through the return of the supersedingindictment.

        2. The names of co-defendants who have since entered guilty pleas to charges in the

           original indictment have been removed.

        3 . The remaining counts have been renumbered to reflect the removal of counts charging

           previously named co-defendantswho have since entered guilty pleas to chargesin the

           original indictment. No additional counts have been added.

        4. Aliases have been added for defendants JOHN DAVID CLARKE                                  and CEDRIC

           DARNELL WILLIAMS.

        5. A sentencingallegationhasbeenaddedas to defendantNICHOLAS FERLANDO

           HAYNIE, identifying a prior conviction for a serious drug felony.

        6. All items identified in the Bill of Particulars [Doc. 182] have been addedto the

           forfeiture notice of the supersedingindictment.

        Respectfully submitted on December 2, 2024.




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                                       SEANP. COSTELLO
                                       UNITED STATESATTORNEY

                                       By: /s/ Justin D. Kopf
                                       JustinD. Kopf
                                       AssistantUnited StatesAttorney
                                       United StatesAttorney’s Office
                                       63 South Royal Street, Suite 600
                                       Mobile, Alabama 36602
                                       Telephone: (251) 441-5845
